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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA,

Criminal No.: 1:19CR00059-LO
Vv.

DANIEL EVERETTE HALE,

Defendant.

ORDER OF DETENTION

On this date the defendant, with counsel, appeared before the Court to be heard on the Petition and
Order for Action on Conditions of Pretrial Release. For the reasons stated in open court, and for good
cause shown, the Court DENIES defendant’s request for release and REVOKES the order of release

previously entered. The defendant is therefore remanded until the date of sentencing.

 

United StateS“Dstrict Judge

Alexandria, Virginia
May 4", 2021
